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EXHIBIT E
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               FORMAL NOTICE TO CEASE AND DESIST




                              ®®s
DATE:           12:01 EDT (4:01AM UTC), MAY 19, 2021

TO:             ALL PERSONS/ENTITIES INVOLVED IN DISTRIBUTION OR DISPLAY
                OF SWEETWATER BEER OR ASSOCIATED MERCHANDISE USING RAY
                SCOTT FUSS’S COPYRIGHTED WORK REFERENCED BELOW AFTER
                THE DATE 05-18-21

FROM:           RAY SCOTT FUSS, Author and Owner

RE:             COPYRIGHTED WORK OF SCOTT FUSS, AS AUTHOR AND OWNER OF
                REGISTERED COPYRIGHTS VAU1-326-605 and VA2-084-616 (namely
                that certain “Trout banner” and the “SweetWater leaping rainbow trout”;
                attached; see mw.copyright . gov)

ATTENTION'. Ray Scott Fuss, as author and owner of the REGISTERED COPYRIGHTS VAU1-
326-605 and VA2-084-616 (namely that certain “Trout banner” and the “SweetWater leaping
rainbow trout”), hereby gives notice and demand that all persons and entities cease and desist
from any distribution or public display after the date 05-18-21 of the above COPYRIGHTED
WORK in any form, if without lawful license from Ray Scott Fuss, as such right to distribute and
display are among the exclusive rights of and held exclusively by Ray Scott Fuss, as author and
owner, pursuant to 17 U.S.C.S. § 106(3) and (5)- This includes, but is not limited to, the shipment,
delivery, display for sale, advertising in any medium, and selling any beer (whether in containers,
bottles, or boxes so marked) or any associated and related merchandise, including posters,
banners, paintings, hats, t-shirts, glasses, mugs, stickers, and all other such copies or displays
available for viewing or purchase by the public that have affixed or printed thereon any
Copyrighted Work. Ray Scott Fuss is the rightful author and owner, a fact acknowledged formally
in a notarized document signed by Mr. Freddy Bensch on October 25, 2002. (A copy is available
upon written request with return postage prepaid). Hereby cease and desist from any violation of
Ray Scott Fuss’s rights as author and owner of said Copyrighted Work. Ray Scott Fuss reserves
all rights, claims, causes of actions, remedies, damages, costs and fees against any person or entity
violating or infringing his exclusive rights to authorize, display, or distribute said Copyrighted
Work. For further information, please contact legal counsel for Scott Fuss: Blaine A. Norris, PC,
c/o   Blaine   Norris   and   John    Autry,   706-850-9400,       blaine@NorrisInjurvLaw.com         and
john@NorrisIniuiyLaw.com, www.NorrisInimyLaw.com, 1143 Prince Ave., Athens, GA 30606.,
with copies to co-counsel Smith Tempel Blaha LLC, c/o Matthew T. Hoots and Gregory Scott
Smith,   706-621-5777,   mhoots@srtslaiv.com,       gsmith@srtslaw.com,            www.srlslaw.com,   1055
Prince Ave., Athens, GA 30606.       This 19th day of May, 2021.


                                                               Scott -fuss
                                                               Scott Fuss (May 19, 2021 16:13 EDT)

                                                                s/ Ray Scott Fuss, Author and Owner
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Type of Work:         Visual Material


Registration Number / Date:
                      VAU001326685 / 2018-03-07


Application Title: Trout banner.


Title:                Trout banner.


Description :         Electronic file (eService)


Copyright Claimant:
                      Ray Scott Fuss.


Date of Creation:     1996


Authorship on Application:
                      Ray Scott Fuss;     Domicile:   United States;   Citizenship:
                         United States. Authorship:       2-D artwork.


Rights and Permissions:
                   Ray Scott Fuss,      (770) 787-0806, (770) 712-6639,
                         starrsvillescott@hotmail.com

Names:                Fuss,   Ray Scott




                                                                                      SF
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Type of Work:         Visual Material


Registration Number / Date:
                      VA0002084616 / 2017-09-26

Application Title:    Sweetwater leaping rainbow trout.


Title:                Sweetwater leaping rainbow trout.


Description :         Electronic file (eService)

Copyright Claimant:
                      Ray Scott Fuss,      1962-


Date of Creation:     1996


Date of Publication:
                      1997-04-20


Nation of First Publication:
                      United States

Authorship on Application:
                      Ray Scott Fuss, 1962-    (author of anonymous
                         contribution); Citizenship: United States. Authorship:
                         2-D artwork.


Rights and Permissions:
                   Ray Scott Fuss, (770) 787-0806, (770) 712-6639,
                      starrsvillescottghotmail . com

Names:                Fuss,   Ray Scott,   1962-




                                                                                  SF
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FORMAL NOTICE TO CEASE AND DESIST
051921
Final Audit Report                                                                             2021-05-19


  Created:             2021-05-19


  By:                  BLAINE NORRIS (blaine@NorrislnjuryLaw.com)


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